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STATE OF MINNESOTA                                                DISTRICT COURT
COUNTY OF HENNEPIN                                       FOURTH JUDICIAL DISTRICT
                                                                    Personal Injury
NELSON GODFREY,

                 Plaintiff,
                                                           SUMMONS
km


3M COMPANY and
AEARO TECHNOLOGIES LLC,

                Defendants.


     THIS SUMMONS IS DIRECTED TO:               Aearo Technologies, LLC
                                                  -_
     1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
       Plaintiff's Complaint against you is attached to this Summons. Do not throw these
       papers away. They are official papers that affect your rights. You must respond to this
       lawsuit even though it may not yet be filed with the Court and there may be no court
       file number on this Summons.

     2. YOU MUST REPLY WITHIN 21 DAYS TO PROTECT YOUR RIGHTS.
       You must give or mail to the person who signed this Summons a written response
       called an Answer within 21 days of the date on which you received this Summons.
       You must send a copy of your Answer to the person who signed this Summons located
       at:

       Schwebel Goetz & Sieben
       5120 IDS Center
       80th S. 8th Street
       Minneapolis, Minnesota 55402

     3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response to
       the Plaintiff's Complaint. In your Answer you must state whether you agree or
       disagree with each paragraph of the Complaint. If you believe the Plaintiff should not
       be given everything asked for in the Complaint, you must say so in your Answer.
     4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN RESPONSE
        TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS SUMMONS. If you
       do not Answer within 21 days, you will lose this case. You will not get to tell your side
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       of the story, and the Court may decide against you and award the Plaintiff everything
       asked for in the Complaint. If you do not want to contest the claims stated in the
       Complaint, you do not need to respond. A default judgment can then be entered
       against you for the relief requested in the Complaint.

    5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
       have a lawyer, the Court Administrator may have information about places where you
       can get legal assistance. Even if you cannot get legal help, you must still provide a
       written Answer to protect your rights or you may lose the case.

    6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be ordered to
       participate in an alternative dispute resolution process under Rule
       114 of the Minnesota General Rules of Practice. You must still send your
       written response to the Complaint even if you expect to use alternative means of
       resolving this dispute.

                                  ACKNOWLEDGMENT
    The undersigned acknowledge sanctions may be imposed under Minn. Stat. § 549.211.




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Dated: July 5, 2022                      Respectfully Submitted,

SCHWEBEL GOETZ & SIEBEN, P.A.
/s/ Alicia N. Sieben                     WENDT LAw FIRM, P.C.
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Alicia N. Sieben (#389640)               Samuel M. Wendt (pro hac forthcoming)
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STATE OF MINNESOTA                                                DISTRICT COURT
COUNTY OF HENNEPIN                                       FOURTH JUDICIAL DISTRICT
                                                                   Personal Injury
NELSON GODFREY,

                   Plaintiff,
                                                          COMPLAINT
u

3M COMPANY and
AEARO TECHNOLOGIES LLC,

                   Defendants.


    Plaintiff brings this action against defendants 3M Company and Aearo Technologies LLC,

and in support thereof allege:

                                     NATURE OF THE CASE

    1. This is a failure to warn product liability action related to an earplug manufactured

and sold by Defendants. Plaintiff used Defendants' dual-ended Combat ArmsTM Earplugs -

Version 2 and, as a result of Defendants' failure to warn, now suffers from hearing loss and

tinnitus. Defendants knew the earplugs needed to be inserted in a particular manner in order

to have any effectiveness. But the Defendants failed to warn potential purchasers of the

danger of failing to do so.

                                   JURISDICTION AND VENUE

    2. This Court has subject matter jurisdiction over Plaintiff's claims under Minn. Stat. §

484.01, subd. 1.

    3. This action is not removable to federal court because Plaintiff asserts no claim arising

under the Constitution, law, or treaties of the United States to satisfy 28 U.S.C. § 1331 and


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because even though the requirements of 28 U.S.C. § 1332(a) may be met, Plaintiff brings this

suit in Defendants' home state and therefore 28 U.S.C. § 1441(b)(2) precludes removal.

    4. Venue is proper in Hennepin County, Minnesota under Minn. Stat. §§ 542.01 and

542.09 because 3M resides in Hennepin County in that it has its resident agent, an office, and

a place of business in Hennepin County.

                                            PARTIES

    5. Plaintiff Nelson Godfrey is an individual residing in the state of Texas.

    6. Defendant 3M is a Delaware corporation with its principal place of business in

Minnesota.

    7. Defendant Aearo Technologies LLC is a limited liability company formed in Delaware

with its principal place of business in Minnesota.

                                     FACTUAL ALLEGATIONS

    A.   Plaintiff's Use of 3M Combat ArmsTM Earplugs Version 2

    8. Plaintiff served in the Army from approximately 2007 to 2010.

    9. Plaintiff used 3M's dual-ended- earplugs while deployed to Iraq from 2008 to 2009.

    10.Prior to his deployment, Plaintiff did not experience any hearing loss or tinnitus.

    11.While deployed overseas, Plaintiff was exposed to damaging, loud impulse, high-

pitched sounds. Plaintiff first noticed partial hearing loss and tinnitus in 2012 after being

deployed to Iraq.




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    12.Plaintiff did not receive instructions to fold back the third flange on the opposite side

of the use end of the Combat ArmsTM earplug or a warning that the earplug would not be

effective if he did not do so.

    13.Plaintiff suffers from hearing loss and tinnitus.

    B. Defendants' Manufacture and Testing of the Combat ArmsTM Earplugs

    14.Aearo Technologies was the global market leader in hearing and eye protection and

was based in Indianapolis, Indiana. Aearo Technologies developed, marketed, and sold the

Combat ArmsTM earplug until being acquired by 3M in 2008 for $1.2 billion. Afterwards, 3M

hired Aearo's employees and maintains it as a separate operating unit. Post-acquisition, the

Combat ArmsTM earplugs have been marketed and sold under the 3M brand. Because 3M

acquired both the assets and liabilities of Aearo, Aearo and 3M are used interchangeably and

all allegations against Aearo are directed as a matter of law against 3M.

    15.Aearo developed dual-ended, non-linear (selective attenuation) Combat ArmsTM

earplugs for the specific purpose of providing a single set of earplugs that provide two

options for hearing attenuation depending on how they are worn:




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    16.The earplugs can be worn in an open or "unblocked" position (yellow end in) to block,

or at least significantly reduce, loud impulse sounds, while still allowing the user to hear

quieter noises. Alternatively, the earplugs can be worn in a closed or "blocked" position

(green end in) to block, or at least significantly reduce, all sounds, i.e., operate as ordinary

earplugs.

    17.Defendants knew these earplugs, at a minimum, required special instructions for use

as early as 2000.

    18.At all relevant times, the Combat ArmsTM earplugs had a tendency to imperceptibly

loosen in the wearer's ear, thus allowing damaging sounds to enter the ear canal around the

outside of the earplug. Specifically, the basal edge of the third flange of the non-inserted end

of the earplug is prone to press against some wearers' ear canals and fold back to its original



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shape, thereby loosening the seal in their ear canals. Because the earplug is symmetrical, this

occurs regardless of which end is inserted into the ear.

    19.Aearo learned of this problem when it completed testing of the Combat ArmsTM

earplugs. In fact, in February 2000, after the Combat ArmsTM earplugs failed specification

testing, Aearo employees rolled back the non-inserted yellow flanges to mitigate the

loosening effect.

    20.The value and effectiveness of earplugs has been standardized under federal law

through a Noise Reduction Rating ("NRR"). The testing and labeling of earplugs such as the

Combat ArmsTM earplugs to achieve an NRR is governed by federal regulations promulgated

by the Environmental Protection Agency ("EPA") pursuant to the Noise Control Act, 42

U.S.C. § 4901 et seq. Specifically, 40 C.F.R. § 211.206-1 provides:

       The value of sound attenuation to be used in the calculation of the Noise
       Reduction Rating must be determined according to the "Method for the
       Measurement of Real-Ear Protection of Hearing Protectors and Physical
       Attenuation of Earmuffs." This standard is approved as the American National
       Standards Institute Standard (ANSI-STD) S3.19-1974.

    21.Further, 40 C.F.R. §211.204-4(e) requires that specific supporting information

accompany hearing protection devices sold in the United States:

       The following minimum supporting information must accompany the device in
       a manner that insures its availability to the prospective user. In the case of bulk
       packaging and dispensing, such supporting information must be affixed to the
       bulk container or dispenser in the same manner as the label, and in a readily
       visible location.... Instructions as to the proper insertion or placement of the
       device.

(Emphasis added).

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    C.   Aearo's Test Results for the Combat ArmsTM Earplugs Demonstrated the Need for a
         Warning and Special Fiiting Instructions

    22.The NRR is supposed to represent the amount of sound attenuation experienced by a

test group under conditions specified by the federal Noise Control Act's testing methodology.

    23.In or around January 2000, Aearo began NRR testing on each end of the Combat

ArmsTM earplug. Rather than use an independent test lab, Aearo performed its testing in-

house at its E-A-RCAL laboratory (also now owned by 3M). Aearo selected 10 test subjects,

including some of its own employees. Aearo's test protocol involved testing: (1) the subject's

hearing without an earplug; (2) the subject's hearing with the open/ unblocked (yellow) end

of the Combat ArmsTM earplug inserted; and (3) the subject's hearing with the closed/blocked

(green) end of the Combat ArmsTM earplug inserted.

    24. Aearo's own employees monitored the test results as the tests were performed, which

allowed them to stop the testing at any point if they were not achieving the desired NRR. This

violated the ANSI S3.19-1974 testing protocol. In fact, Aearo stopped the test of the green end

of the Combat ArmsTM earplug inserted after only 8 of the 10 subjects had been tested. At that

point, the Combat ArmsTM earplugs were failing expectations miserably. Aearo was ezpecting

to achieve an NRR of 22 with the green end inserted, but in fact was on target to receive a 10.9

rating based on the experiences of the first eight subjects.

    25.Despite stopping the test on the green end of the Combat ArmsTM earplugs, Aearo had

the remaining two test subjects complete the test with respect to the yellow end of the

Combat ArmsTM earplugs only because Aearo liked the low NRR rating the test was

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indicating to that point. After completion, however, testing of the yellow end resulted in an

NRR of -2, which falsely suggested that the earplugs actually amplified sound. Aearo thus

knew that the test was inaccurate and needed to be repeated. Instead, Aearo changed the -2

NRR to a 0 NRR, and used that rating on its labels.

    26.After prematurely stopping the NRR test of the green end of the Combat ArmsTM

earplug, Aearo investigated the disappointing test results and discovered that because the

stem of the earplug was so short, it was difficult to insert the earplug deep enough into the

wearer's ear canal to obtain a proper fit as required by ANSI S3.19-1974, Section 3.2.3. See,

Acoustical Society of America Standard Method for the Measurement of Real-Ear Protection

of Hearing Protectors and Physical Attenuation of Earmuffs (ASA STD 1-1975).

    27.Aearo also discovered that when the green end of the Combat ArmsTM earplug was

inserted into the,ear using the standard fitting instructions, the basal edge of the third flange

of the yellow end pressed against the wearer's ear and folded backward. When the inward

pressure of the earplug was released, the yellow flanges tended to return to their original

shape, thereby loosening the earplug, often imperceptibly to the wearer. And, because the

Combat ArmsTM earplug was symmetrical, this same problem occurred when the earplug was

reversed.

    28.Aearo later instructed test subjects to fold the flanges on the non-inserted end of the

earplug back before inserting it into the ear.

    29.Using these manipulated fitting instructions, Aearo re-tested the green end of the

Combat ArmsTM earplugs starting in February 2000. During this re-test of the green end, test
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subjects folded back the yellow flanges of the earplug (essentially elongating the too-short

stem) to allow them to insert the earplugs deeper into their ears to obtain a proper fit. Because

the yellow flanges were folded back, the basal edge of the third flange no longer pressed

against the subject's ear canal, and thus did not cause the earplug to loosen during the testing.

Using this manipulated test protocol, Aearo achieved a 22 NRR on the green end of the

Combat ArmsTM earplug.

    30.Due to the symmetrical nature of the Combat ArmsTM earplugs, the problem that

affected the fit of the green end similarly affected the fit of the yellow end. The fact that

Aearo's testing of the yellow end resulted in a-2 NRR meant that the earplugs (when used

without the special instructions described above) did not provide a proper fit (as required by

ANSI S3.19-1974, Section 3.2.3) between the ear canal of at least some of the subjects and the

earplugs. As a result, some subjects had large standard deviations across trials on the yellow

end test, which suppressed the NRR rating.

    31.Nevertheless, Aearo did not re-test the yellow end using the manipulated fitting

instructions like it did on the green end, i.e., folding back the flanges on the green end of the

earplug before inserting the yellow end into the ear.

    32.Aearo did not re-test the yellow end because it knew that it would not be able to obtain

a 0 NRR (much less the facially invalid -2 NRR).

    33.Moreover, the need for the special fitting instructions for the Combat ArmsTM earplugs

is more important during real-life use than in a lab where the NRR tests are performed over

the span of just a few minutes and the head of the test subject remains virtually motionless
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during the test. Wearers, such as Plaintiff on the other hand, may wear the earplug for an

extended period of time and are more active than test subjects in a lab.

    34.Because the issue was imperceptible to the wearer, an improper fit would go

undetected by those who wore them.

    35.Defendants continued to sell the Combat ArmsTM earplugs until 2016, at which time

Defendants discontinued the earplug. See Discontinuation: 3M Combat Arms Earplugs

Version 2 (Nov. 17, 2015)).

    36.Defendants' failure to warn about the need for special fitting instructions for the

Combat ArmsTM earplugs caused Plaintiff to suffer hearing loss and tinnitus.

    37.At all times after 3M's acquisition of Aearo, 3M knew of, conspired with, and was

complicit in Aearo's wrongful acts in marketing and selling the Combat ArmsTM earplugs

without warning of the need for modified fitting instructions.

                              TOLLING OF STATUTES OF LIMITATIONS

    38.Plaintiff could not, by the exercise of reasonable diligence, have discovered

Defendants' wrongful acts as the cause of his injuries at an earlier time, because, at the time of

these injuries, the cause was unknown to Plaintiff. Plaintiff did not suspect, nor did Plaintiff

have reason to suspect, the cause of these injuries, or the tortious nature of the conduct

causing these injuries, until less than the . applicable limitations period prior to the filing of

this action.

    39.Further, the running of the statute of limitations has been tolled by reason of

Defendants' fraudulent concealment. Through their affirmative misrepresentations and
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omissions, Defendants actively concealed from Plaintiff the risks associated with use of the

Combat Arms' earplugs without adhering to the specific fitting instructions discussed

above.

     40.Because of Defendants' failure to warn, Plaintiff were unaware, and could not

reasonably know or have learned through reasonable diligence that he had been exposed to

the risks alleged herein, and that those risks were the direct and proximate result of

Defendants' acts and omissions.

     41. Through Defendants' affirmative misrepresentations and omissions pertaining to the

safety and efficacy of the Combat ArmsTM earplugs, Plaintiff was prevented from discovering

this information sooner because Defendants misrepresented and continued to misrepresent

the risks associated with using the Combat ArmsTm earplugs without adhering to the specific

fitting instructions discussed above.

                         COUNT I: PRODUCT LIABILITY — FAILURE TO WARN

     42.Plaintiff incorporates by reference the paragraphs above as if fully set forth herein.

     43.Defendants are the manufacturers and sellers of the Combat ArmsTM earplugs.

     44.The Combat ArmsTM earplugs that Defendants manufactured, distributed, and sold

lacked adequate warnings, instructions, or labels at the time they left Defendants' control.

     45.Defendants failed to warn, failed to provide instructions, and failed to provide an

adequate label that included the modified fitting instructions necessary for the Combat

ArmsTM earplug to fit correctly in the wearer's ear and create the seal necessary to block out

damaging sounds.
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     46. Defendants had a duty to sell the Combat ArmsTM earplugs with reasonable and due

care for the safety and well-being of wearers, including Plaintiff. Defendants breached that

duty.

     47. Defendants had a duty to provide adequate warnings and/or instructions to prevent

the risks associated with the Combat ArmsTM earplugs when worn in the ordinary course.

Defendants breached that duty.

     4s. It was foreseeable to Defendants that the Combat ArmsTM earplugs would be

unreasonably dangerous if distributed without a warning regarding the risks of damage to

the ear with an improper fit and/or modified fitting instructions.

     49. Not only was it foreseeable, it was foreseen by Defendants. During testing, Defendants

discovered that because the stem of the earplug was so short, it was difficult to insert the

earplug deep enough into the wearer's ear canal to obtain a proper fit.

     50.Defendants also discovered that when the green end of the Combat ArmsTM earplug

was inserted into the ear using the standard fitting instructions, the basal edge of the third

flange of the yellow end pressed against the wearer's ear and folded backward. When the

inward pressure of the earplug was released, the yellow flanges tended to return to their

original shape, thereby loosening the earplug, often imperceptibly to the wearer. And,

because the Combat ArmsTM earplug was symmetrical, this same problem occurred when the

earplug was reversed.

     51.Defendants had a post-sale duty to warn of the above alleged product-related risks

because Defendants knew or reasonably should have known that the Combat ArmsTM
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earplug posed a substantial risk of harm to wearers, including Plaintiff, if used without

adhering to specific fitting instructions; the wearer who used the Combat ArmsTM earplug can

reasonably be assumed to be unaware of the risk of harm of using the Combat ArmsTM

earplugs without specific fitting instructions because the above alleged loosening effect was

imperceptible; a warning or instruction showing how to correctly and safely use the Combat

ArmsTM earplug could have been effectively communicated to and acted upon by the wearer

to whom a warning or instruction might be provided; and the risk of harm, including but not

limited to hearing loss in wearers, is sufficiently great to justify the slight burden of providing

a warning or instruction. Defendants breached this duty by failing to provide a post-sale

warning or instruction.

     52.The Combat ArmsTM earplugs contained no warnings, or in the alternative, inadequate

warnings and/or instructions, as to the risk that the Combat ArmsTM earplugs would allow

damaging sounds to bypass the earplug thereby posing a serious risk to Plaintiff's hearing

unbeknownst to Plaintiff.

     53.The warnings and instructions that accompanied the Combat ArmsTM earplugs failed

to provide the level of information that an ordinary wearer would expect when using the

Combat ArmsTM earplugs in a manner reasonably foreseeable to Defendants.

     54.Had Plaintiff received a proper.or adequate warning as to the risks associated with the

use of the Combat ArmsTM earplugs in the manner contemplated by Defendants, he would

not have used them.


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     55.Additionally, and/or alternatively, had Plaintiff received the modified fitting

instructions that were used by Defendants during the testing, which were not disclosed to

Plaintiff, Plaintiff would have followed the modified fitting instructions to ensure a proper

seal to prevent damaging sounds from entering the ear canal.

     56.Plaintiff suffered injury and damage as a direct and proximate result of Defendants'

failures to warn and/or provide adequate instructions regarding the dangerous condition of

the Combat ArmsTM earplugs that the Defendants manufactured, distributed, and sold.

                                       PRAYER FOR RELIEF


     WHEREFORE, Plaintiff requests from Defendants, jointly and severally, compensatory

damages, together with appropriate equitable relief, costs and attorneys' fees as follows:

     A. Award of monetary damages, including compensatory relief, to which Plaintiff

is entitled at the time of trial in an amount exceeding $50,000.

     B. Award of pre- and post-judgment interest.

     C. Award of costs.

     D. Award of all such other and further relief as may be available at law or equity

and may be proper under the circumstances.

                                   DEMAND FOR TURY TRIAL


     Plaintiff demands a trial by jury on all issues so triable.

                                      ACKNOWLEDGMENT

     The undersigned acknowledge sanctions may be imposed under Minn. Stat. § 549.211.


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           CASE 0:22-cv-01942-JRT-TNL Doc. 1-1 Filed 08/03/22 Page 17 of 17


Dated: July 5, 2022                       Respectfully Submitted,


SCHWEBEL GOETZ & SIEBEN, P.A.             WENDT LAw FIRM, P.C.
/s/ Alicia N. Sieben
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